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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )                    8:09CR272
       vs.                                 )
                                           )                      ORDER
MICHAEL D. McCROY,                         )
                                           )
                     Defendant.            )



      This matter is before the court on defendant's MOTION TO ENLARGE TIME TO FILE
PRETRIAL MOTIONS [30]. Upon review of the file, the court finds an extension should be
granted. Pretrial Motions shall be filed by September 19, 2009.

       IT IS ORDERED:

      1.    Defendant's MOTION TO ENLARGE TIME TO FILE PRETRIAL MOTIONS [30] is
granted. Pretrial motions shall be filed on or before September 21, 2009.

       2.     Defendant is ordered to file a waiver of speedy trial as soon as practicable.

       3.      The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., the time between August 20, 2009 and
September 21, 2009, shall be deemed excludable time in any computation of time under
the requirement of the Speedy Trial Act for the reason defendant's counsel required
additional time to adequately prepare the case, taking into consideration due diligence of
counsel, and the novelty and complexity of this case. The failure to grant additional time
might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).

       DATED this 26th day of August, 2009.

                                          BY THE COURT:


                                          s/ F.A. Gossett
                                          United States Magistrate Judge
